Case 1:08-cv-04246-BSJ-JCF Document 5

Jaoob Shisha

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LaWrence N. Curtis
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Te|. (337) 235-1825

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UN|TED STATES DISTR!CT COURT
SOUTHERN DISTRICT OF NEW YORK
X

 

ANTHONY LOPEZ

P|aintitf,

~against-

CUNARD E_lNE, i_TD.

dib/a CUNARD L|NE CRU|SES,
CUNARD, plc, CARN|VAL
CORPORAT|ON, d/b/a
CARN]VAL CRU|SE LiNES and
CARNIVAL, plc

Defendants

 

X

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08 CiV 4246

NOT|CE OF
|ViOT|ON FOR
AD|V||SS|ON PRO HAC VICE

PLEASE TAKE NOT|CE that upon the accompanying declaration of LaWrence N.

Curtis, Eeq., executed on §§ of June, 2008, the certificate of good Standing

attached hereto, and the accompanying declaration of Jacob Shisha, Esq., Piaintiff,

1

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Anthony Lopez, by its attorneys Tabak, lV|e||usi & Shisha, LLP Wili move this Court
before the Honorab|e Barbara S. Jones, Judge, at the Danie| Patrick l\/|oynihan United
States Courthouse1 500 Peart Street, Room 2510, New York, New York 10007, at a
date and at a time to be determined, for an order pursuant to Ru|e 1.3(0) of the Loca|
Civil Rules of the United States District Courts for the Southem and Eastem Districts of
New York admitting Lawrence N.Curtis, Esq., to practice before this Court pro hac vice
in the above-entitled and numbered cause on behalf of F’Iaintiff, Anthony Lopez.

PLEASE TAKE FURTHER NOT]CE that objections, if any, to the relief requested
herein shall be in Writing, shall state with particularity the grounds for each objection,
shall be filed in accordance With the Federa| Ru|es of Civi| Procedure, the Loca| Civi|
Rules of the United States Dlstrict Courts for the Southern and Eastern Districts of New
York and the individual practices of the Honorab|e Barbara S. .iones, Judge, and shall
be served upon the undersigned counsel Within ten (lO) after service of the moving
papers lf no objections are filed, the Court may grant the relief requested Without
further notice or hearing

Dated: NeW York, NeW York.

 

TABAK, El_LUSl & SH|SHA, LLP
Attorneys forj '
eY; '

JAcoB le{sHA (Js 5452)

 

'l'o: Joseph J. Perrorie, Esq.
BENNET, GlULlANO, |V|CDONNEL
& PERRONE, LLP
494 Eighth Avenue, 7th F|oor
NeW York, New York 10001

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(646) 328»0120

Attorneys for Defendants, Cunard Line, Ltd. d/b/a Cunard
Lr'ne Cruises, Cunard, plc, Carm`val Corporation d/b/a
Camival Cruise Lr'nes and Carnivai, plc

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J`ecob Shisha

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
X

 

ANTHONY LOPEZ

Plaintif'f,

-against-

cUNARD LINE, LTD_
d/b/a CUNARD LINE CRUISES,
CUNARD, plc, CARNIVAL
COR_PORATION, d/b/a
CARNIVAL CRUISE LINES and
CARNIVAL, plc

Defendants

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DECLARATION OF LAWRENCE
N. CURTIS IN SUPPORT OF
MOTION FOR ADl\/HSSION PRO
HAC VICE

Lawrence N. Curtis, Esq., applicant herein for admission pro hac vice, states as follo'ws:

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l. I am a member of the law firm of La\,vrence N. Cuttis, Ltd., 300 i§ieauregard7 Bldg.
“C", Lat`ayette, Louisiana 70508.

2. l ives tirst admitted to practice law in the State of Louisiana on April 28, 197 3. A
certificate of good standing from the Louisiana Supreme Couit is attached hereto as Exhibit “A".

3. In addition to being admitted to practice law in the State ofLouisiana, I have also been
admitted and am a member in good standing of the bars of the following Federal Courts: the United
States Supreme Court, the United States Court oprpeals for the Fittli Circuit, the Eastem, Middle
and Westem Districts of Louisiana. l have also been admitted to practice, pro hac vice, in the

Eastern, Southern and Western Districts of Texas.

4. l have never been subject to disciplinary proceeding in any Court to which 1 have been
admittedl
5 . l have never been admitted to practice law in any other jurisdictions or Ceuits, other

than as disclosed in Paragraph No. 3 above

6. I respectfully submit that my admission and good standing in the jurisdictions and
Courts mentioned earlier in this Declaration, qualifies rne to practice before this Court, pro hac vice,
in connection with the above-entitled and numbered cause pursuant to Rule 1.3(0) of the Local Civil
Rulcs of the Uni.ted States Distn`ct Couit for the Southern and Eastern Districts ofNew York.

7. Ihave never been sanctioned for violation of any Nevv York statute or Coult rule and
there are no pending disciplinary proceedings against me in any State of Federal Couit.

WHEREFORE, your applicant respectfully moves to be admitted to practice before this
Court, pro hac i)ice, on behalf of the Plaintiff, Anthony Lopez, in connection with the above-entitled

and numbered cause

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Pursuant to 28 U.S . C. § l 746, I declare under penalty of perjury that the foregoing is true and
con‘ect.

Executed on June 30, 2008.

   

¢:.

 

Lawrence N. Curtis

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United States of America
State of Louisiana
Supreme Court of the State of Louisiana

I, ]OHN TARLTON OLIV'IER, Clerk of the Supreme Court of the State of

Louisiana, do hereby certify that
LARRY CUKTIS, ESCL, #4'678

Was duly admitted and licensed to practice as an attorney and counselor at law in this Court
and the several courts of the State of Louisiana, on the 28th Day of April, 197 8 A.D.; and is
currently in good standing, and sufficiently qualified to perform the duties of an attorney

and CGUDSCIOI` at iBW.

IN WITNESS WHEREOF, I hereunto sign
my name and affix the seal of this Court,
at the City of New Orleans, this the 26th

Day of ]une, 2008, A.D.

§
Cierk of Court

Supreme Court of Louisiana

 

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Jacob Shisha

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Attorneys for P|aintiff

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Fax. (337) 237-0241

UNlTED STATES DlSTRlCT COURT
SOUTHERN DISTRICT OF NEW YORK
X

 

ANTHONY LOF’EZ

P|aintiff

~against»

cuNAnt) LlNE, Lro.
drs/a cuNARD tina cnulsss,
cuNARo, pic, cARN:vAt_
coRPoRAnoN, arb/a
cARvaAL cnulsa unas and
cARvaAL, prc

Defendants

 

X

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08 Civ 4246

DECLARAT|ON OF JACOB
SH|SH/-\ iN SUF’PORT OF
lVlOT|ON FOR ADMISS|ON OF
LAVVRENCE N.

CURT|S PF\’O HAC l/ICE

Jacob Shisha, Esc[.1 being duly sworn, depose and said:

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1. l am a partner With the law firm of TABAK, l\/|ELLUSl & SH|SHA LLP,
counsel for P|aintiff, Anthony Lopez, in the above-entitled and numbered cause. i submit
this declaratioin in support of the motion, pursuant to Rule 1.3(c) ofthe Loca| Civil Ru|es
of the United States District Court for the Southern and Eastern Districts of l\lew York for
an order granting Lawrence N. Curtis, Esq., admission to the bar of this Courtpro hac vice
for the purpose of allowing him to participate in the representation of Plaintiff in the
above-entitled and numbered cause, and to appear before this Court.

2. |V|r, Curtis is a member of the law firm known as Lawrence N. Curtis, Ltd., of
Lafayette, Louisiana and is licensed to practice and is practicing in the State of Louisiana
With offices located at 300 Rue Beauregard, Bldg. “",C L.afayette, Louisiana 70508. l-le is
experienced and familiar With the matter which is pending before this Court.

3. |Vlr. Curtis is a member in good standing of the Louisiana State Bar and
there are no pending disciplinary proceedings against him in any State or Federal Court.
A certificate from the Louisiana Supreme Court stating that lV|r. Curtis is a member in
good standing of the Louisiana Bar is attached to |V|r_ Curtis' affidavit submitted in support
of this lVlotion.

4. No previous application has been made for the relief requested herein

5. According|y, l respectfully request that Lawrence N. Curtis, Esq. be
admitted to the Bar of this Court pro hac vice

6. l make the above declaration in New Yorl< New Yori< this 30th of June,

2008, under the penalty of perjury.

l

, \
Jacob shi§h \ l

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